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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

SOLOMON ADU-BENIAKO,

      Plaintiff,
                                                  Case No. 20-cv-12402
v.                                                Hon. Matthew F. Leitman

PATRICK REIMANN, et al.,

     Defendants.
__________________________________________________________________/

                                  JUDGMENT

      The above-entitled action came before the Court on Plaintiff’s Complaint. In

accordance with the Order entered on this day:

      IT IS ORDERED AND ADJUDGED that Plaintiff’s Complaint is

DISMISSED.

                                     /s/Matthew F. Leitman
                                     MATTHEW F. LEITMAN
                                     UNITED STATES DISTRICT JUDGE

Dated: September 22, 2021

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on September 22, 2021, by electronic means and/or
ordinary mail.

                                            s/Holly A. Monda
                                            Case Manager
                                            (810) 341-9764


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